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Jorns & Associates, LLC

                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF WYOMING

JORNS & ASSOCIATES LLC,                   )
                                          )
            Plaintiff/Counter-Defendant,  )
                                          )
v.                                        )        Case No. 2:23-cv-247-KHR
                                          )
WCMS MEDIA LLC and JESS E. ROGERS, SR., )
                                          )
            Defendants/Counterclaimants.  )
_________________________________________ )

     STIPULATED EXTENSION OF DEADLINE FOR DISCOVERY RESPONSES




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                  Plaintiff Jorns & Associates LLC (“Jorns”) and Defendants WCMS Media LLC

and Jess E. Rogers, Sr. (“Defendants”) stipulate to an extension of the deadline for Jorns to answer

or object to Defendants’ First Set of Interrogatories served on June 18, 2024. Jorns shall have

through August 1, 2024 to serve its answers or objections to Defendants’ First Set of

Interrogatories.

         Respectfully submitted this 17th day of July, 2024.



  Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

        I hereby certify that on this 17th day of July, 2024, a true and correct copy of the foregoing
was electronically filed with the Clerk of Court using the CM/ECF system which will send
notification of such filing to the following counsel of record:

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